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   13                       UNITED STATES DISTRICT COURT
   14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16 KEVIN RISTO, on behalf of himself and        CASE NO. 2:18-CV-07241-CAS-PLA
   17 all others similarly situated,               CLASS ACTION
   18               Plaintiff,
             v.                                    OPPOSITION TO DEFENDANTS’
   19                                              NOTICE OF MOTION AND
                                                   MOTION FOR SUMMARY
   20 SCREEN
      AMERICAN
                       ACTORS
                        FEDERATION
                                        GUILD-
                                            OF     JUDGMENT OR, IN THE
      TELEVISION      AND   RADIO    ARTISTS,      ALTERNATIVE, FOR PARTIAL
   21 a Delaware corporation; AMERICAN             SUMMARY JUDGMENT
   22 FEDERATION
      THE      UNITED
                        OF MUSICIANS OF
                             STATES       AND      Hearing Date:      June 14, 2021
      CANADA,        a   California    nonprofit   Hearing Time:      10:00 a.m.
   23 corporation; RAYMOND M. HAIR, JR,            Courtroom:         8D (Telephonic)
   24 an individual, as Trustee of the AFM and
      SAG-AFTRA Intellectual Property              [Plaintiff’s Evidentiary Objections,
                                                   Separate Statement of Genuine Disputes
   25 Rights    Distribution Fund; TINO
      GAGLIARDI, an individual, as Trustee         of Material Facts, Declaration of
   26 of    the AFM and SAG-AFTRA
      Intellectual Property Rights Distribution
                                                   Mariana A. McConnell, Declaration of
                                                   Barrie Kessler, Declaration of Kerry
   27 Fund;      DUNCAN           CRABTREE-
      IRELAND, an individual, as Trustee of        Adams, Declaration of Mark Bookman,
   28 the AFM and SAG-AFTRA Intellectual                OPPOSITION TO DEFENDANTS’ NOTICE OF
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     1 Property Rights Distribution Fund;          and [Proposed] Order filed
       STEFANIE TAUB, an individual, as            concurrently]
     2 Trustee of the AFM and SAG-AFTRA
       Intellectual Property Rights Distribution
     3 Fund; JON JOYCE, an individual, as
       Trustee of the AFM and SAG-AFTRA
     4 Intellectual Property Rights Distribution
       Fund; BRUCE BOUTON, an individual,
     5 as Trustee of the AFM and SAG-
       AFTRA Intellectual Property Rights
     6 Distribution     Fund;     and      DOE
       DEFENDANTS 1-10,
     7
                     Defendants.
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  1     I.      INTRODUCTION
  2          “[A] sanitized version of the incident cannot control on summary judgment
  3 when the record as a whole does not support that version.” Wilkinson v. Torres, 610
  4 F.3d 546, 551 (9th Cir. 2010). Virtually every “uncontested fact” relied upon in
  5 Defendants’ Motion for Summary Judgment (ECF No. 103) (“MSJ”) is not only
  6 contested by Plaintiff, but flatly contradicted by the evidentiary record in this case.
  7 Furthermore, Defendants have recycled numerous legal arguments already rejected
  8 by the Court in disposing Defendants’ Motion to Dismiss (ECF No. 18) (“MTD”),
  9 while doing nothing to breathe any new life into them. See Baird v. BlackRock
 10 Institutional Tr. Co., N.A., No. 17-cv-01892-HSG, 2021 U.S. Dist. LEXIS 35973, at
 11 *4 (N.D. Cal. Jan. 28, 2021) (rejecting argument in motion for summary judgment
 12 “already addressed by the Court in its order on Defendant’s motion to dismiss”).
 13          What the undisputed evidence in this case actually demonstrates is that the
 14 Services Agreement at the heart of this case between the Unions (AFM and SAG-
 15 AFTRA) and the Fund is a pure contrivance. It has no purpose beyond conferring an
 16 unearned, unwarranted, and unlawful windfall upon the Unions at the expense of the
 17 Fund’s beneficiaries (whose royalties are perpetually garnished 3%) in exchange for
 18 information of, at best, specious significance to the Fund’s operations. Indeed, the
 19 Fund has paid the Unions more than $10 million to date for their “mission critical”
 20 documents that, by Defendants’ own admission, have been utilized to successfully
 21 identify a beneficiary on fewer than 8% of tracks in the Fund’s catalog. Defendants’
 22 reverential descriptions of the Unions’ information are performative and merely
 23 intended to insinuate that no price would be too high to pay for access to it.
 24          Defendants, however, have never been arms-length negotiators for purposes of
 25 assessing the value of the Unions’ information. They are tax-exempt nonprofits with
 26 fiduciary duties to act in the best interests of their beneficiaries. The Unions had no
 27 justification for withholding their information (which would harm their members)
 28 simply because a non-member may occasionally benefit from it, and the Trustees had
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  1 no justification for simply giving away millions in Fund beneficiaries’ royalties for
  2 information the Unions could not justifiably withhold. The “negotiation” between the
  3 Unions and the Trustees for the Services Agreement was, in fact, simply an intra-
  4 Union conspiracy, as every last Trustee was a Union figurehead, the Unions’ attorney
  5 papered both sides of the deal, and the fee chosen had no relationship whatsoever to
  6 the “reasonable cost” – the metric mandated by federal statute in this case – to obtain
  7 the information being provided. The Service Fee is facially unreasonable and admitted
  8 to lack any evidence base. It was, and still is, simply being used as a slush fund to
  9 prop up the AFM’s precarious financials. Defendants are not entitled to so conscript
 10 the beneficiaries’ royalties, nor to secure summary judgment via whitewashing. This
 11 matter is rife with genuine factual disputes as to every last argument presented by
 12 Defendants, and the law requires that Plaintiff’s facts be accepted at this time.
 13     II.      STATEMENT OF FACTS
 14           The AFM and SAG-AFTRA Intellectual Property Rights Distribution Fund
 15 (the “Fund”) is an I.R.C. §501(c)(6) nonprofit organization created pursuant to 17
 16 U.S.C. § 114 to receive and distribute royalties to non-featured performers on digitally
 17 transmitted sound recordings –, 2.5% each to nonfeatured musicians and vocalists.
 18 (Plaintiff’s Statement of Undisputed Facts [“PUMF”] ¶ 1). The American Federation
 19 of Musicians (“AFM”) and Screen Actors Guild-American Federation of Television
 20 and Radio Artists (“SAG-AFTRA”) are the nonprofit Unions designated to establish
 21 and maintain the Fund, which they did pursuant to an Agreement and Declaration of
 22 Trust established in 1998 and updated in 2013 (the “Trust Agreement”). (PUMF ¶ 2).
 23 Pursuant to the Trust Agreement, the Fund is managed by a board of six Trustees,
 24 comprised of an apex officer, lower level officer, and rank-and-file member of each
 25 Union. (PUMF ¶ 3). During the time period relevant to this case, this included:
 26            Ray Hair, AFM President;
 27            Duncan Crabtree-Ireland, SAG-AFTRA General Counsel and COO;
 28            Tino Gagliardi, AFM International Executive Board member;
                                               2     OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1          Stefanie Taub, former SAG-AFTRA director and currently Fund CEO;
  2          Bruce Bouton, former AFM Local 257 executive; and
  3          Jon Joyce, former SAG-AFTRA National Board member.
  4 Art. IV, § 3, N, of the Trust Agreement requires the Trustees to “to accomplish the
  5 general objective of distributing remuneration to eligible artists in the most efficient
  6 and economical manner” (emphasis added) (PUMF ¶ 4), as they are bound by the
  7 strictures of general nonprofit law, which holds them to the standard of fiduciaries.1
  8         The Fund’s work consists of researching the identities of nonfeatured
  9 performers to whom royalties are owed under Section 114. (PUMF ¶ 5). The Fund
 10 maintains its own staff of researchers to accomplish this task, and said researchers
 11 consult a wide variety of informational sources to ascertain the proper royalty
 12 recipients on any given track. (PUMF ¶ 6). As part of their work for their dues-paying
 13 members, however, each Union maintains two sources of data relevant to the Fund’s
 14 operations: session reports (or “B-forms”) that reflect identities of performers present
 15 at a given Union-ran recording session, which are collected and maintained to ensure
 16 their members are paid for such session work,2 and databases containing contact and
 17 marketing information for the Unions’ respective membership rolls, including last
 18 known addresses. (PUMF ¶ 7). As the foregoing information is maintained in the
 19 ordinary course of the Unions’ operations (PUMF ¶¶ 8,21), they incur no incremental
 20 costs to collect it for the Fund and (at most) de minimis costs in providing it to the
 21 Fund.3 Indeed, the Unions send copies of the exact same reports at no charge to their
 22
 23   1
        The Trustees owe the beneficiaries of the Fund a duty of loyalty, a duty of
 24   impartiality and duties of prudence diligence and good faith. (ECF No. 18.)
      2
 25     The Unions receive payments for the covered recordings and cut checks to the
      appropriate performers listed on the corresponding session reports. (PUMF ¶ 17).
 26   3
        SAG-AFTRA has identified three individuals responsible for handling all Fund
 27   requests, spending approximately 372 hours a year on such work for a total cost (based
      on their prorated salaries) of $13,650.92. (PUMF ¶ 9). Three of four of the largest
 28   (footnote continued)
                                                 3      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 pension funds (PUMF ¶¶ 18-19), as well as to record labels. (PUMF ¶ 20).
  2         For the first 15 years of the Fund’s existence, the Unions provided the foregoing
  3 session reports and membership information (the “Data”) to the Fund gratis and have
  4 identified no operational detriments they incurred in doing so. (PUMF ¶ 11). Indeed,
  5 given that the Unions’ core mission is to assist their memberships in obtaining
  6 revenues owed (PUMF ¶ 12), it is inconceivable that the Unions would ever hold this
  7 information hostage without violating fundamental duties to their memberships.
  8         Nevertheless, with the passage of time and the dawn of the current era of digital
  9 streaming, the corpus of the Fund began to swell by orders of magnitude, and although
 10 the Unions could not identify a significant increase in the overall amount of work
 11 required of them to assist the Fund (e.g., they hired no new personnel to handle the
 12 increase and still require only a handful of hours per month from their employees to
 13 respond to requests), Mr. Hair became intent on rerouting this revenue back to the
 14 Unions. (PUMF ¶ 14). This was ultimately accomplished via a 3% “Service Fee” for
 15 the Data, which Defendants justified under Section 114(g)(3)’s allowance for the
 16 Fund to “deduct from any of its receipts … the reasonable costs of such collective
 17 incurred … in [] the administration of the collection, distribution, and calculation of
 18 the royalties” and implemented by the 2013 Data Purchase and Services Agreement
 19 (the “Services Agreement”) between the Unions and Fund. (PUMF ¶¶ 15-16).
 20         The Services Agreement implicates at least three major liabilities:
 21         First, the process by which the Services Agreement was enacted is rife with
 22 conflicts of interest. In or around 2007, Mr. Hair’s predecessor at both AFM and the
 23 Fund, Thomas Lee, asked AFM’s longtime lawyer, Patricia Polach (who had been
 24 tasked to serve as outside counsel to the Fund), if the AFM could justify collecting a
 25
 26 AFM locals employ computerized databases that the Fund can access directly to pull
 27 this information, the only hands-on work requiring 15-20 hours per year, while the
    Nashville local spends 2-3 hours of work per week on Fund requests. Based on their
 28 salaries, this is a cost of $560 per year to the local AFM chapters. (PUMF ¶ 10).
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  1 percentage fee from the Fund’s distributions. (PUMF ¶¶ 22, 24). Ms. Polach, who had
  2 drafted the Trust Agreement and regularly attended the Trustee meetings (PUMF ¶
  3 23), informed Mr. Lee that such would not be legal. (PUMF ¶ 24). Once Mr. Hair
  4 assumed Mr. Lee’s role as President of AFM, however, he informed Fund CEO
  5 Dennis Dreith that “it was unfair” the Unions were not compensated for having
  6 lobbied to establish the Fund. (PUMF ¶¶¶ 13, 25-26). Mr. Hair resented the fact that
  7 the Fund “had all these resources… yet the AFM was going through a lot of financial
  8 difficulties and didn’t have the money,” and given the fact that “the Fund had all this
  9 money, [Mr. Hair] felt that he should have some of it.” (PUMF ¶ 26). So, abusing his
 10 power as a Trustee, Mr. Hair simply took the money that he felt was his.4
 11        Shortly after an explosive conversation between Mr. Dreith and Mr. Hair on
 12 the matter, Mr. Dreith received a call from Ms. Polach informing him that Mssrs. Hair
 13 and Crabtree-Ireland had unilaterally directed her to implement the Service Fee over
 14 his concerns. (PUMF ¶¶ 28-29). Jenner & Block was then enlisted to draft the Services
 15 Agreement, tying the Service Fee to deliverables the Unions were already providing
 16 the Fund for free. (PUMF ¶ 30). As Mr. Dreith recognized that protesting the Service
 17 Fee further would simply lead to his termination, he instead focused on minimizing
 18 its impact to the Fund’s beneficiaries, chiefly by convincing Mssrs. Hair and Crabtree-
 19 Ireland to reduce the initial proposal of a 10% fee to 3%. (PUMF ¶¶ 31-32).
 20        No Trustees but Mssrs. Hair and Crabtree-Ireland had any input on the Services
 21 Agreement. (PUMF ¶ 33). Indeed, the other Trustees only learned of its existence two
 22 business days before having to vote on it, when they were provided with a nondescript
 23 agenda item, “AFM & SAG-AFTRA Services Fees,” that lacked any explanatory
 24 detail, much less an actual draft to review. (PUMF ¶ 34). The meeting itself lasted
 25 only 2.5 hours instead of the typical full workday despite including several other
 26
 27   4
      Defendant Hair’s 30(b)(6) testimony confirmed that the Service Fee comprises the
 28 largest part of AFM’s net revenue after membership dues. (PUMF ¶ 27).
                                              5    OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 major items for discussion, such as the purchase of a $9.9 million office building and
  2 parking lot, the Fund’s 2014 budget, future distributions and collections, and a closed
  3 session discussion with the Fund’s administrator. (PUMF ¶ 35). Trustees Taub, Joyce,
  4 and Bouton testified that they were not involved in fixing the measure of the Service
  5 Fee at 3%. (PUMF ¶¶ 36-38). None of the Trustees reviewed the Services Agreement
  6 prior to approving it.5 As Mr. Bouton put it, they “basically showed up at the meeting”
  7 and “had to approve or disapprove” of the proposal on the spot. (PUMF ¶ 38).6
  8         The foregoing is readily explained by the lack of true independence on the part
  9 of non-apex Trustees, all of whom are hand-selected by top Union leadership and
 10 serve “at the pleasure of the president,” meaning they may be removed at any time.
 11 (PUMF ¶ 39). In fact, the two Union heads wield so much power in the Fund that they
 12 have declared themselves Co-Chairs of the Board, requiring all information and data
 13 to flow through them despite having no written authority to do so. (PUMF ¶ 40). No
 14 disclosures were ever made regarding the Trustees’ conflicting loyalties borne of their
 15 (often extremely powerful) Union positions (PUMF ¶ 41), suppressing consideration
 16 of same during the vote on the Services Agreement. (PUMF ¶ 42). Mr. Crabtree-
 17 Ireland is the only party who claims to have recognized the conflict and recused
 18 himself from the vote accordingly (PUMF ¶ 43), though no other Trustee recalls this
 19 alleged recusal (PUMF ¶ 44) and none is reflected in the minutes (PUMF ¶ 45).
 20
 21   5
        Nor did Ms. Taub attempt to evaluate of the reasonable cost of the services being
 22   provided thereunder despite her position as the national manager of SAG-AFTRA’s
 23   Sound Recordings division granting her unique insight into the level of time and effort
      that was expended by SAG-AFTRA employees on such services. (PUMF ¶ 36).
 24   6
        To the extent any Trustee was aware of the basis for a 3% fee, they knew it was (1)
 25   a compromise figure lower than what Mr. Hair had initially proposed, and (b) only
      capped by the specter of foreign CMO scrutiny raised by Mr. Dreith. It had no basis
 26   in the very modest augmented costs put forth by the Unions, as the Data is maintained
 27   primarily for Union business and the overhead calculation for employees who respond
      to Fund requests is less than $20,000. (PUMF ¶ 50). In other words, the only evidence
 28   in the record paints the Service Fee’s structure and amount as a contrivance.
                                                  6      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1        Second, the record contains no evidence the Trustees ever considered if the cost
  2 or value of the Services Agreement was commensurate with the Service Fee, if the
  3 Unions’ deliverables could be obtained in whole or part from other vendors at a lower
  4 cost, if the propriety of the Service Fee would diminish as distributions increased, or
  5 if it would be prudent to consider a mechanism to periodically reevaluate the terms of
  6 the Services Agreement. (PUMF ¶ 46). No cost or time and materials study was ever
  7 considered to determine the fee’s propriety, nor the time or cost of providing the Data
  8 to the Fund. (PUMF ¶ 47). This is despite Mr. Crabtree-Ireland testifying that the
  9 intent of the Service Fee was to recoup the costs of servicing the Fund, not to turn a
 10 profit. (PUMF ¶ 80). The Fund’s former Harvard Business School-educated CFO,
 11 Jennifer LeBlanc, who has no long-standing allegiances to the Unions, testified that
 12 the Service Fee’s structure is “not the way a businessperson would [do it],” has “no
 13 foundation,” and “at a minimum … should have been thought about from an analytical
 14 perspective, about what are the services provided, and how can you have a greater
 15 alignment between those services and the value of those services.” (PUMF ¶ 48).
 16 Asked whether the 3% fee was justified, Ms. LeBlanc said “no.” (PUMF ¶ 49)
 17        Third, the Unions misrepresent the uniqueness of the Data by conflating the
 18 session reports and membership rolls. (PUMF ¶ 54). Beneficiary contact information
 19 is shored up through the Fund’s inexpensive subscription to LexisNexis (PUMF ¶ 55),
 20 while session information is available via many public sources, including AllMusic,
 21 Discogs, liner notes, and self-claiming by beneficiaries (which is the only reason the
 22 Fund knew to pay Plaintiff Risto). (PUMF ¶¶ 56-57). Indeed, even the Unions’ crown
 23 jewel, their session reports, are available from other entities, including the record
 24 labels, pension funds, Film Musicians Secondary Markets Fund, and SAG-AFTRA &
 25 Industry Sound Recordings Distribution Fund, all of which receive them for free, and
 26 none of which were investigated by the Trustees prior to approving the Services
 27 Agreement. (PUMF ¶¶ 18, 20, 58). Given that the pension funds have previously sold
 28 the Fund session information at the negligible cost of $7 per report (PUMF ¶ 59),
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  1 crosschecking the Fund’s entire database would cost the Fund only $952,000, or less
  2 than 10% of the $10,229,756 paid out to the Unions to date. (PUMF ¶ 60).
  3      III.   LEGAL STANDARD
  4         Summary judgment is appropriate when “there is no genuine dispute as to any
  5 material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.
  6 Proc. 56(a) (emphasis added). Defendants bear the initial burden of demonstrating
  7 that no facts exist to support one or more essential elements as to each of Plaintiff’s
  8 claims, even viewed in the light most favorable to Plaintiff and with all justifiable
  9 inferences drawn in his favor. Hesghiaian v. Bank of Am., N.A., No. CV 18-10458
 10 PA (AFMx), 2019 U.S. Dist. LEXIS 124508, at *3 (C.D. Cal. May 31, 2019) (citing
 11 Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)); Johnson v. Poway Unified School
 12 Dist., 658 F.3d 954, 960 (9th Cir. 2011). “If a moving party fails to carry its initial
 13 burden of production, the nonmoving party has no obligation to produce anything,
 14 even if the nonmoving party would have the ultimate burden of persuasion at trial.”
 15 Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102-03 (9th Cir. 2000).
 16         Plaintiff may defeat Defendants’ showing by identifying any facts that create a
 17 genuine dispute for trial on the challenged claims. Anderson v. Liberty Lobby, Inc.,
 18 477 U.S. 242, 250 (1986). Plaintiff need not establish that he will prevail on these
 19 disputes, as the Court does not make credibility determinations or weigh conflicting
 20 evidence. T.W. Elec. Serv. V. Pacific Elec. Contractors Ass’n, 809 F.2d 626, 630-31
 21 (9th Cir. 1987). Rather, Plaintiff must simply show that the matters “require a jury or
 22 judge to resolve the parties’ differing versions of the truth at trial.” Id. at 630.
 23      IV.    ANALYSIS OF DISPUTED CLAIMS
 24      A. Breach of Fiduciaty Duty
 25         1. Legal Standard
 26         Under California law, the elements for breach of fiduciary duty are: “(1)
 27 existence of a fiduciary duty; (2) breach of the fiduciary duty; and (3) damage
 28 proximately caused by the breach.” Stanley v. Richmond, 35 Cal. App. 4th 1070, 1086
                                              8      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 (1995). The claim can be based upon either negligence or fraud. Tribeca Companies,
  2 LLC v. First Am. Title Ins. Co., 239 Cal. App. 4th 1088, 1114 (2015). “Whether a
  3 breach of fiduciary duty or duty of loyalty occurs under a specific set of facts is
  4 ‘mainly for the trier of facts.’” Ctc Glob. Corp. v. Huang, No. SACV 17-02202 AG
  5 (KESx), 2019 U.S. Dist. LEXIS 156886, at *22 (C.D. Cal. July 29, 2019) (quoting
  6 O’Neal v. Stanislaus Cty. Emps.’ Ret. Ass’n, 8 Cal. App. 5th 1184, 1215 (2017)).
  7         As fiduciaries, Defendants bear the burden of establishing the propriety of their
  8 challenged conduct and affirmatively disproving any breach of their duties. See, e.g.,
  9 Solon v. Lichtenstein, 39 Cal. 2d 75, 81 (1952); Everest Inv'rs 8 v. McNeil Partners,
 10 114 Cal. App. 4th 411, 424 (2003); Oates v. City of Lincoln, 93 Cal. App. 4th 25, 35
 11 (2001); Van de Kamp v. Bank of America, 204 Cal. App. 3d 819, 853 (1988). This is
 12 particularly so where they have the best access to the data relevant to the dispute. See
 13 In re Marriage of Prentis-Margulis & Margulis, 198 Cal. App. 4th 1252, 1267-68
 14 (2011). Thus, Defendants’ motion may only be granted if the circumstances do not
 15 permit any reasonable doubt as to whether Defendants’ conduct violates the degree of
 16 care exacted of them. Invisible Dot, Inc. v. Dedecker, No. CV 18-08168-RGK
 17 (RAOx), 2019 U.S. Dist. LEXIS 222446, at *22 (C.D. Cal. Oct. 11, 2019) (citing
 18 Harvey v. The Landing Homeowners Ass’n, 162 Cal. App. 4th 809, 822 (2008)).
 19         Summary judgment regarding a breach of fiduciary duty claim is particularly
 20 inappropriate where Defendants dispute the breach on a primarily factual basis. See,
 21 e.g., Avocados Plus, Inc. v. Freska Produce Int'l LLC, No. CV 06-896-RGK (JTLx),
 22 2007 U.S. Dist. LEXIS 96848, at *17-18 (C.D. Cal. Jan. 26, 2007) (“Defendants
 23 contend that, as a matter of law, Clevenger did not breach any duty. However,
 24 Defendants’ arguments are based entirely on the factual dispute at the core of this
 25 action. […] All of these facts may well be true, but since FDI has provided evidence
 26 raising disputes over these issues, they must be established by a jury.”); Dollar Tree
 27 Stores Inc. v. Toyama Partners LLC, 875 F. Supp. 2d 1058, 1084 n.11 (N.D. Cal.
 28 2012) (fiduciary’s factual argument that his conduct was “entirely proper,” despite
                                              9     OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 having has “some force,” did not permit summary judgment on the issue).7
  2        2. Defendants’ Negotiation of the Services Agreement Was Defective
  3        Defendants have argued that the propriety of the Service Agreement is
  4 supported by both the Copyright Act and Trust Agreement. MSJ at 9:3-16. However,
  5 Plaintiff has never disputed that the Copyright Act and – to the extent it comports with
  6 the Copyright Act and general fiduciary law – the Trust Agreement permit the Fund
  7 to deduct costs from the royalties it collects, only that such costs must be reasonable.
  8 17 U.S.C. § 114(g)(3). Defendants’ one-sided recounting of the Service Agreement’s
  9 genesis (MSJ at 9:17-10:13) completely fails to explain how the Service Fee was
 10 found to reflect the “reasonable cost” of the Services Agreement rather than simply
 11 the most that could be skimmed without arousing immediate suspicion. In truth, the
 12 Service Fee was negotiated solely by Mssrs. Hair and Crabtree-Ireland working
 13 backwards from the desire to obtain an equity stake in the Fund’s distributions, Mr.
 14 Dreith only being approached in a post hoc attempt to justify the scheme. The 3% fee
 15 was not based on the cost or value of the services (i.e., whether said amount was
 16 reasonable), but rather on an extracted representation from Mr. Dreith that any greater
 17 amount would cause financial problems for the Fund. (PUMF ¶ 32). All parties knew
 18 that Mr. Dreith was powerless to stop the Trustees from implementing the Service
 19 Fee, as the Trustees exercised complete dominion over the operations of the Fund and
 20 could terminate Mr. Dreith at will. (PUMF ¶ 61). His involvement, much like that of
 21 Ms. Polach, was window dressing for an arrangement contrived first and foremost to
 22 benefit the Unions. There was no attempt by other Trustees to question or investigate
 23
 24
      7
 25   See also O’Neal, 8 Cal. App. 5th at 1221-22 (“Although many facts detailing the
    disputed conduct are not in dispute, there remain material issues of fact whether the
 26 resulting conduct violated the constitutionally mandated fiduciary duty of loyalty the
 27 board owed….”); Palm Springs Villas II Homeowners Ass’n, Inc. v. Parth, 248 Cal.
    App. 4th 268, 283 (2016) (reversing grant of summary judgment where “material
 28 issues of fact exist as to whether [a fiduciary] exercised reasonable diligence”).
                                                10      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 the parameters of the Services Agreement. (PUMF ¶¶ 36- 38). Defendants’ suggestion
  2 that this lack of inquiry somehow supports their case is frankly inexplicable.
  3         Additionally, Defendants’ entitlement to rely on Mr. Dreith’s opinions requires
  4 that they have done so “in good faith, after reasonable inquiry when the need therefor
  5 is indicated by the circumstances and without knowledge that would cause such
  6 reliance to be unwarranted.” Fed. Deposit Ins. Co. v. Faigin, No. CV 12-03448 DDP
  7 (CWx), 2013 U.S. Dist. LEXIS 94899, at *26 (C.D. Cal. July 8, 2013) (quoting Cal.
  8 Corp. Code § 309); accord Stephens v. National Distillers & Chem. Corp., 91 Civ.
  9 2901 (JSM), 91 Civ. 2902 (JSM) 1996 U.S. Dist. LEXIS 6915, at *19 (S.D.N.Y. May
 10 20, 1996); see also Tufenkian v. Tirakian, 2020 NY Slip Op 30697(U), ¶ 19 (2020)
 11 (denying summary judgment on breach of fiduciary duty where “there are issues of
 12 fact concerning the degree to which Ms. Tirakian relied, if at all, on the information,
 13 opinion, reports, or statements of Mr. Anastasi in performing her duties...”).8
 14         Defendants’ coercion of Mr. Dreith’s support negates any notion of good faith,
 15 reliance. Id. Indeed, basic inquiry would have revealed that not a single collective
 16 management organization (the Service Fee’s supposed benchmark) pay for data
 17 (PUMF ¶ 65)9 – not even SoundExchange, the upstream provider of the royalties
 18 distributed by the Fund, and who were surely only a phone call or e-mail away to the
 19 Trustees. (PUMF ¶ 66).10 Defendants did not learn this information because they did
 20 not want to confirm that the Service Fee simply had no evidentiary support.11
 21
 22   8
        Additionally, California law requires Mr. Dreith to have been a director rather than
 23   an officer to take advantage of this protection. FDIC v. Hawker, No. CV F 12-0127
      LJO DLB, 2012 U.S. Dist. LEXIS 79320, at *17-19 (E.D. Cal. June 6, 2012).
 24   9
        See [Adams Declaration, Ex. 1]
      10
 25      See [Kessler Declaration, Ex. 1]
      11
         For example, when Mr. Crabtree-Ireland asked Mr. Dreith in 2017 whether he felt
 26   the Service Fee had become excessive (PUMF ¶ 70), Mr. Dreith provided a memo
 27   confirming that the Service Fee was unjustified from inception for lack of any ties to
      an evidence base, its hypertrophic growth now attracting negative attention (PUMF ¶
 28   (footnote continued)
                                                 11     OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1         3. The Data Provided to the Fund Does Not Support the Service Fee
  2         Unable to meaningfully support the process by which the Services Agreement
  3 was reached, Defendants switch to a “no harm, no foul” argument (MSJ at 11:14-21)
  4 and spend a majority of their time attempting to prove the Data has “value” (MSJ at
  5 11:22-12:18). This provides no metric by which to evaluate whether the Service Fee
  6 constitutes a “reasonable cost” in exchange for that Data. The claim that the Data is
  7 “essential” to the Fund is an ipse dixit supported exclusively by a statistically
  8 insignificant and fundamentally flawed “50 song” study, laundered through a Fund
  9 employee, that Defendants’ own expert admitted was not designed within parameters
 10 necessary to “express conclusions using the science of inferential statistic[s].” (PUMF
 11 ¶ 74). It relies on a small and seemingly arbitrary sample size, its ordering and
 12 selection of tracks following no process likely to produce random, representative
 13 samples. Id. Defendants’ own expert did not seem to understand how the songs were
 14 selected, as his explanation of how “largest” was used contradicted information on
 15 the very chart he claimed to be analyzing. (PUMF ¶ 75). This renders the study’s
 16 methodology and conclusions easily manipulated and inherently unreliable.
 17         Because of this, Defendants avoid claiming the songs reviewed are statistically
 18 representative and merely suggest they speak to the reasonableness of the fee – but
 19 that is a far cry from establishing there to be no genuine dispute as to the Service Fee’s
 20 reasonableness, particularly when comparing amounts paid to results achieved.12 To
 21 wit, is it reasonable that each Union receives the exact same payment despite SAG-
 22 AFTRA identifying 60% fewer tracks than AFM? Id. Is it reasonable that the Fund
 23
 24
 25 71), and again suggested a move towards incremental costs rather than a percentage
    stake. (PUMF ¶ 72). The memo was buried and never addressed. (PUMF ¶ 73).
 26 12 The Fund’s database contains approximately 136,000 song titles. (PUMF ¶ 76).
 27 47,650 have been added since the Service Fee’s inception. (PUMF ¶ 77). Of those,
    AFM provided information on 7,395 tracks, SAG-AFTRA on 2,927. (PUMF ¶ 78).
 28 Assuming no overlap, the Unions only corroborated 22% of new Fund beneficiaries.
                                           12      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 has paid the Unions $991 per track identified ($10,229,756 for 10,322 tracks), nearly
  2 400% the median amount paid out to artists by the Fund ($248.58), 14,158% more
  3 than the $72,254 it would have cost to purchase those same documents from the
  4 Unions’ health and pension funds at $7 apiece, and 1,072% more than the $952,000
  5 it would have cost them to doublecheck all 136,000 tracks in the Fund’s database?
  6 (PUMF ¶¶ 50-52, 59-60, 67, 76-78). Even read in the light most favorable to
  7 Defendants rather than Plaintiff, this study does virtually nothing to support the
  8 reasonableness of the Service Fee, let alone place it outside genuine dispute.
  9        Beyond this, Defendants have nothing to support the reasonableness of the
 10 Service Fee. The time and effort expended by the Unions in compiling the Data is
 11 fully financed by existing membership dues, and Defendants’ reliance on it to justify
 12 the Service Fee (MSJ at 11:25-28) tacitly admits that the Unions are utilizing the
 13 Service Fee to recoup sunk costs not incurred at the Fund’s behest. The unproductive
 14 labor of the Unions (MSJ at 11:28-12:2) and assertedly unique and essential “value”
 15 of the Data (MSJ at 12:2-7)13 provides no correlative explanation for the amount paid
 16 under the Services Agreement and, if the Unions’ argument were to be believed,
 17 would support a Service Fee of any amount being reasonable. The law governing
 18 fiduciaries requires so much more than Defendants’ manufactured rationalizations.
 19        4. The Data’s Value to Non-Union Members is Virtually Nonexistent
 20        Defendants’ sole argument for the value of the Data to non-Union members is
 21 that, on occasion, a non-Union member might participate in a Union recording session
 22 and piggyback their way onto a Union session report. (MSJ at 12:19-13:3) Defendants
 23 provide no evidence for how often this occurs or how many non-Union beneficiaries
 24 are ultimately located thereby, and therefore nothing to substantiate that the benefits
 25 conferred are anything more than isolated at best. Indeed, the only data available
 26
 27   13
      Data, including session reports which their own 30(b)(6) witness admits are not
 28 reliably generated for all covered recording sessions. (PUMF ¶ 53),
                                               13      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 demonstrates that 76% of non-Union beneficiaries are never located, yet their
  2 royalties continued to be garnished for Data worthless to them. (PUMF ¶ 68). As such,
  3 the percentage of non-Union beneficiaries (MSJ at 13:4-12) provides no indication
  4 for the percentage of such beneficiaries who benefit from the Data – yet the Services
  5 Agreement requires every last one of them to pay for help most never receive.14
  6        5. The Service Fee Is Incompatible With The Unions’ Legal Duties
  7        Defendants contend that because only a “small fraction” or “small subset” of
  8 the Unions’ respective membership are Fund beneficiaries, “[t]he Service Fee ensures
  9 that the Union members who actually benefit from the Fund’s activities are the ones
 10 who bear the reasonable costs of the Fund’s operations.” (MSJ at 13:12-21) Three
 11 observations are thus warranted: First, Defendants have effectively conceded that the
 12 vast majority of the Unions’ membership data is worthless to the Fund. Second, if it
 13 would be unfair to charge the Unions’ full membership for benefits only conferred on
 14 a small subset thereof, it must be equally unfair to charge the Fund’s full beneficiary
 15 pool for Data that only benefits a small subset thereof. Third, Defendants’ argument
 16 ignores that the Fund could simply charge relevant Union beneficiaries directly
 17 through work dues. (PUMF ¶ 69); Parmeter v. Am. Fed'n of Musicians of the United
 18 States & Canada, No. CV 07-07225 MMM (SSx), 2009 U.S. Dist. LEXIS 138835, at
 19 *8 (C.D. Cal. May 21, 2009) (explaining concept of work dues). However, this would
 20 deny the Unions access to roughly half the Fund’s corpus and require membership
 21 approval, whereas the Service Fee bypasses informed beneficiary consent entirely.
 22        The truth of the matter is that the core mission of the Unions is to assist their
 23 members in receiving monies owed, and to claim that simply sending their members’
 24 information to the Fund is outside the scope of their representation betrays everything
 25
 26   14
       Defendants make reference to a generalized benefit conferred by the Unions’
 27 “advocacy efforts” (i.e., lobbying) as justifying the Service Fee. (MSJ at 13 n.9,
    PUMF ¶ 13). Nowhere in Section 114(g)(3) is lobbying listed as a reasonable cost
 28 that may be deducted from the royalties collected, and Defendants cite to none.
                                             14      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 their respective bylaws proclaim. (PUMF ¶ 12). The Unions have put forth no
  2 evidence to substantiate that any increases in their respective workloads assisting the
  3 Fund have been anything more than middling (MSJ at 14:7-8; see SUF ¶ 65; PUMF
  4 ¶ 14), and it is not a defense to observe that Defendants refrained from gouging the
  5 Fund until its revenue stream eventually became worth gouging (MSJ at 13:22-14:11).
  6 Thus, a genuine dispute remains as to the fundamental propriety of the Service Fee.
  7         6. Defendants Are Bound By Federal Restrictions On Fund Costs
  8         Defendants wisely do not argue that the costs incurred by the Fund need not be
  9 reasonable, as this would render the “reasonable costs” restriction of 17 U.S.C. §
 10 114(g)(3) mere surplusage. See Lowe v. SEC, 472 U.S. 181, 236 n.53 (1985) (“we
 11 must give effect to every word that Congress used in [a] statute”). Instead, they erect
 12 a strawman argument, claiming that Plaintiff believes this requires all Fund vendors
 13 to provide their services at cost. (MSJ at 14:14-26) Defendants’ argument is intended
 14 to gloss over the unique position the Unions occupy in relation to the Fund –
 15 nonprofits appointed by Congress to oversee its operation, with fiduciary obligations
 16 to assist its membership and no colorable legal justification for withholding its
 17 membership’s own Data from the Fund unless a ransom is paid. (PUMF ¶ 11). Yet
 18 the Unions solely analogize themselves to for-profit businesses such retailers, utilities,
 19 and data brokers (MSJ at 14:27-15:18), ignoring that even data brokers such as
 20 LexisNexis – the closest commercial analog to what is offered under the Services
 21 Agreement – do not structure their fees on a percentage-of-revenue basis. (PUMF ¶
 22 55). As explained by the COO of SoundExchange, which also labors under Section
 23 114(g)(3), Defendants’ argument “is infected by [their] failure to recognize how the
 24 strictures of a non-profit venture fundamentally realign the considerations animating
 25 any vendor contract negotiation.” (Kessler Decl., Ex. 1) The Unions cannot have it
 26 both ways – either they are in the business of data brokerage and no longer nonprofits,
 27 or the Services Agreement is substantially related to their exempt purpose and activity
 28 they would be expected to incur regardless of compensation from the Fund. Simply
                                            15      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 put, the Fund had leverage, but the Trustees purposefully refused to use it because
  2 their ultimate loyalties lay with the Unions rather than Plaintiff and the Class.
  3         Defendants also attempt to extricate the Fund from the strictures of the
  4 Independent Offices Appropriation Act (“IOAA”), 31 U.S.C. § 9701, by emphasizing
  5 that it is not a federal agency (MSJ at 15:19-16), yet they admit that the IOAA binds
  6 non-governmental entities tasked with performing a federal agency’s statutory duty.
  7 (MSJ at 16 n.12) The Copyright Royalty Judges are just such an agency, tasked by
  8 the Librarian of Congress to administer copyright royalties. SoundExchange, Inc. v.
  9 Librarian of Cong., 571 F.3d 1220, 1222 (2009). The Fund, in turn, is tasked with
 10 facilitating this royalty distribution as to non-featured performers. 17 U.S.C. §
 11 114(g)(2)(B)-(C). It cannot escape the IOAA by hiring the Unions to perform those
 12 duties. Thomas v. Network Sols., 176 F.3d 500, 510 (1999). The Service Fee, as a
 13 charge imposed against the Fund’s beneficiaries, must therefore “bear a reasonable
 14 relationship to the cost of the services rendered…” Capital Cities Commc’ns, Inc. v.
 15 FCC, 554 F.2d 1135, 1138 (D.C. Cir. 1976). Critically, it cannot be based on the
 16 “intrinsic value” of the services, as Defendants have done. See Seafarers Int'l Union
 17 v. United States Coast Guard, 84, 81 F.3d 179, 185 (D.C. Cir. 1996) (“the measure of
 18 fees is the cost … of providing the service, not the intrinsic value of the service to the
 19 recipient”); accord Steele v. United States, 159 F. Supp. 3d 73, 82-83 (D.D.C. 2016).15
 20 This is yet another reason why the Service Fee fails to comport with the law.
 21         7. The Trustees Were Mired In Uncured Conflicts of Interests
 22         Defendants’ final defense of the Services Agreement’s propriety is to entirely
 23 whitewash the myriad conflicts and improprieties that were overlooked to implement
 24
 25   15
       Defendants’ argument that the IOAA only applies to “money ‘bound for the federal
 26 treasury’” (MSJ at 16:9) ignores that 31 U.S.C. § 3302 (the source of this purported
 27 requirement) only applies where there is no statutory authorization to retain and use
    said fees. SBA’s Imposition of Oversight Review Fees, 2004 U.S. Comp. Gen. LEXIS
 28 13, *8-9 (2004). 17 U.S.C. § 114(g)(3) provides just such authorization here.
                                              16     OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 it. (MSJ at 16:12-19:21) They once again trot out the Trust Agreement as though they
  2 may contractually negate their legal obligations (MSJ at 16:20-17:13), ignoring that
  3 their own cited authority holds “no matter how broad the provisions of a trust may be
  4 in conferring power to engage in self-dealing or other transactions involving a conflict
  5 of fiduciary and personal interests, a trustee violates the duty of loyalty to the
  6 beneficiaries by acting in bad faith or unfairly.” Rest. 3d of Trusts § 78 cmt. c(2). The
  7 fact that it may have been in the Fund’s interest to receive the Data (MSJ at 17:14-24)
  8 does not by any means establish that it was in its interest to pay upwards of $10 million
  9 to date for the Data under an agreement “negotiated and implemented solely by Union
 10 members, employees, and potentially even a shared attorney.” ECF No. 25 at 11.
 11        Nor may the Trustees place an artificial divide between themselves and their
 12 respective Unions for conflict purposes (MSJ at 17:25-18:6) when the Court has
 13 already rejected this identical argument as “understat[ing] the scope of the duty of
 14 loyalty,” which protects against “against improper influence generally,” including
 15 actions taken to benefit third parties or advance their objectives. ECF No. 25 at 10
 16 (quoting, inter alia, O’Neal, 8 Cal. App. 5th at 1209). Plaintiff has marshalled
 17 significant evidence that the Service Fee dramatically outstrips any reliable metric of
 18 reasonable cost or value, therefore favoring the Unions over the Fund’s beneficiaries,
 19 which Defendants cannot handwave away on summary judgment. (PUMF ¶¶ 1-80).
 20        Lastly, Defendants argue that adhering to fiduciary duties does not necessarily
 21 require adhering to best practices for nonprofit governance. (MSJ at 18:7-19:3) This
 22 once again misapprehends Plaintiff’s actual argument, which is that violations of best
 23 practices were carried out to ensure the Services Agreement improperly benefited the
 24 Unions to the detriment of the Fund’s beneficiaries. (Bookman Decl., Ex. 1.) In
 25 Armenian Assembly of Am., Inc. v. Cafesjian, 772 F. Supp. 2d 20, 107 (D.D.C. 2011),
 26 the evidence showed that typical protocol was disregarded in good faith to save the
 27 organization money by prioritizing “relatively inexpensive” services. And, unlike in
 28 In re Walt Disney Co. Derivative Litig., 907 A.2d 693, 697 (Del. Ch. 2005), the “best
                                              17     OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 practices” eschewed by the Trustees here were not a ‘moving target,’ but keyed
  2 directly to basic fiduciary duties the court admitted do not change with time.
  3          This is not a case of the Trustees merely discarding formalism, but undermining
  4 every routine safeguard that would have threatened to cast doubt on the Service Fee’s
  5 propriety, with reams of evidence impugning Defendants’ failure to act in the best
  6 interests of Fund beneficiaries (Cal. Prob. Code § 16002(a)), use of the Fund for their
  7 own benefit (id. § 16004(a)), failure to administer the Fund with care (id. § 16040
  8 (a)), and wrongful taking of property belonging to the beneficiaries of the Fund (id. §
  9 859), thereby committing a breach of trust (id. § 16400). This raises genuine issues of
 10 material fact as to whether Defendants’ conduct met the minimum levels of care,
 11 loyalty, and obedience required by California law and precludes summary judgment.
 12 See, e.g., Jackson v. Calone, No. 2:16-cv-00891-TLN-KJN, 2019 U.S. Dist. LEXIS
 13 169388, at *34-35 (E.D. Cal. Sep. 30, 2019); Monterey Bay Military Hous., LLC v.
 14 Pinnacle Monterey LLC, 116 F. Supp. 3d 1010, 1037-38 (N.D. Cal. 2015).16
 15        B. Conversion
 16          Under California law, the elements for conversion are (1) the plaintiff’s
 17 ownership or right to possession of the property at the time of the conversion; (2) the
 18
 19   16
        Defendants close their argument with the baffling assertion that holding Trustees
 20   accountable for purchasing Data at an unreasonable cost means they may also be held
 21   accountable for not purchasing Data at a reasonable cost, (MSJ at 19:4-21.)
      Defendants point to no law requiring the Fund to affirmatively acquire the Data (in
 22   contrast to the numerous state and federal authorities cited herein that require charges
 23   voluntarily incurred to be reasonable), nor do they explain how a class member would
      even know, much less prove, that Trustees’ election not to purchase certain Data
 24   causally deprived them of Fund royalties. In other words, Defendants have merely
 25   offered a “parade of horribles that are unsubstantiated and, at best, hypothetical.”
      Sanchez v. Barr, 919 F.3d 1193, 1196 (9th Cir. 2019) (Paez, J., concurring); see also
 26   Harmelin v. Michigan, 501 U.S. 957, 1029 n.11 (1991) (Scalia, J., concurring) (“[a
 27   parade of horrible’s] strength is in direct proportion to (1) the certitude that the
      provision in question was meant to exclude the very evil represented by the imagined
 28   parade, and (2) the probability that the parade will in fact materialize.”).
                                                  18     OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 defendant’s conversion by a wrongful act or disposition of property rights; and (3)
  2 damages. Farmers Ins. Exchange v. Zerin, 53 Cal. App. 4th 445, 451 (1997). The
  3 Court has already found that Plaintiff adequately established a possessory interest in
  4 the monies collected by the Fund under the language of 17 U.S.C. § 114. See ECF
  5 No. 25 at 15. Thus, the same issues of disputed fact regarding Defendants’ wrongful
  6 conduct that warrant denial of their summary judgment motion as to breach of
  7 fiduciary duty equally warrant denial as to conversion. See Exec. Sec. Mgmt. v. Dahl,
  8 830 F. Supp. 2d 883, 892 (C.D. Cal. 2011) (citing PCO, Inc. v. Christensen, Miller,
  9 Fink, Jacobs, Glaser, Weil & Shapiro, LLP, 150 Cal. App. 4th 384, 396 (2007)).
 10         Defendants make four primary arguments in seeking summary judgment on
 11 Plaintiff’s conversion claim. First, Defendants claim that the Copyright Act does not
 12 grant a cognizable property interest in the monies collected by the Fund due to the
 13 Fund’s “discretion to distribute and allocate royalties” and “to incur ‘reasonable costs’
 14 associated with doing so.” MSJ at 20:28-21:1. The Court rejected this exact argument
 15 at the motion to dismiss stage, noting that the Copyright Act states the property
 16 interest at issue “with particularized precision” and so “considerably restrict[s]” the
 17 Fund’s activities, including by allowing it to deduct only “‘reasonable,’ rightful
 18 costs.” ECF No. 25 at 15 (quoting 17 U.S.C. § 114(g)(3)). The factual dispute as to
 19 whether the Service Fee is “reasonable” under the Copyright Act therefore precludes
 20 summary judgment on the matter. See DCR Mktg. Inc. v. United States All. Grp., Inc.,
 21 No. SACV 19-1897 JVS (DFMx), 2021 U.S. Dist. LEXIS 35028, at *12-13 (C.D.
 22 Cal. Jan. 13, 2021) (denying summary judgment on conversion claim where the facts
 23 concerning the plaintiff’s entitlement to certain property and alleged damages were
 24 “inextricably bound up with the fundamental dispute between the parties”).
 25         Second, Defendants’ dispute that the entitlements under 17 U.S.C. § 114(g)(2)
 26 extend to each qualifying performer individually rather than the Class as a whole by
 27 claiming that such a reading would create an “absurd” obligation to distribute de
 28 minimis royalty payments. MSJ at 21:4-22:13. This is a strawman concerning the
                                          19     OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 timing of the distributions, which has nothing to do with the allocation of royalties
  2 pending such distribution. (PUMF ¶ 62). The Service Fee is assessed as soon as the
  3 Fund allocates royalties to a particular recording and set of beneficiaries, even if the
  4 amounts do not meet the threshold for distribution and even if the beneficiary is never
  5 identified. (PUMF ¶ 62, 79). Disallowing this assessment would not require the Fund
  6 to immediately disburse the affected royalties, and Defendants cite nothing to the
  7 contrary. See San Luis & Delta-Mendota Water Auth. v. United States DOI, No. 1:11-
  8 cv-00952 LJO GSA, 2015 U.S. Dist. LEXIS 24970, at *78 (E.D. Cal. Mar. 2, 2015)
  9 (rejecting claim of absurd result from statutory interpretation where “[t]he record
 10 simply does not reflect that the result hypothesized … is likely to occur”). “In other
 11 words, the literal interpretation of the statute leads to results that are neither absurd
 12 nor odd.” United States v. Jensen, 705 F.3d 976, 979-80 (9th Cir. 2013).17
 13         Third, Defendants once again rely upon language in the Trust Agreement
 14 disclaiming any intent to grant the Fund’s beneficiaries “any right, title, or interest in
 15 or to the Fund or any property of the Fund or any part thereof except as may be
 16 specifically determined by the Trustees.” MSJ at 22:14-19. This language affords
 17 Defendants no independent protection, as the Court has already ruled that “[t]o the
 18 extent that the language of the Trust Agreement, entered into by the Unions, may be
 19 contrary to Congress’ statutory regime, § 114 prevails.” ECF No. 25 at 15 (citing In
 20 re Dixon's Estate, 143 Cal. 511, 514 (1904) and Rest. 3d of Trusts § 29).
 21         Fourth, Defendants offer a permutation of their first argument by claiming that
 22 the Fund’s ability to deduct “reasonable costs” is, by itself, incompatible with a
 23 claimed property right. MSJ at 22:20-24:5. However, Defendants rely entirely on
 24
 25
 26
      17
 27   Indeed, it is Defendants’ interpretation that results in patent absurdity, allowing the
    Fund to destroy beneficiaries’ property interests in their royalties by simply setting
 28 the Fund’s distribution threshold above whatever amounts it misappropriates.
                                                20      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 cases with exceptional subject matter,18 statutory authority to completely withhold the
  2 property in question,19 or where the “reasonable fees” at issue were themselves alleged
  3 to be the property interest at issue.20 Section 114 does not merely entitle performers
  4 to “reasonable royalties,” such that the measure is left entirely to the Fund, but to
  5 defined royalties of specified percentages, with Defendants’ discretion cabined to
  6 only certain deductible costs (which must still be reasonable). The Court found this
  7 to be not a “vague” entitlement, but one spelled out “with particularized precision”
  8 that leaves the Fund “considerably restricted in how they distribute royalties[.]” ECF
  9 No. 25 at 15. Defendants’ inability to identify even one remotely factually similar
 10 case to support their argument confirms the Court was correct in its initial assessment,
 11 and that the Class maintains property interests sufficient to support conversion.
 12        C. Money Had and Received
 13          Under California law, the elements for money had and received are that (1)
 14 defendant received money; (2) the money defendant received was for plaintiff’s use;
 15
 16
      18
 17      Town of Castle Rock v. Gonzales, 545 U.S. 748, 761 (2005) held that police had
      historical discretion in deciding whether to make an arrest regardless of seemingly
 18   mandatory language. Lyles v. City of Huntington Park, No. CV 16-3223-GW (KSx),
 19   2016 U.S. Dist. LEXIS 187694, at *17 (C.D. Cal. July 7, 2016). The comparatively
      uncontroversial royalty rights at issue in this case warrant no similar heightened
 20   scrutiny. Citizens Allied for Integrity & Accountability, Inc. v. Schultz, No. 1:17-cv-
 21   00264-BLW, 2019 U.S. Dist. LEXIS 16777, at *8 (D. Idaho Feb. 1, 2019).
      19
         Jacobson v. Hannifin, 627 F.2d 177, 180 (9th Cir. 1980) found no property interest
 22   to casino licenses where the agency had “full and absolute power and authority to
 23   deny any application for any cause deemed reasonable by [it].”). Section 114 confers
      no similar discretion on the Fund to deny royalty payments to beneficiaries. See
 24   Wedges/Ledges of Cal. v. City of Phx., 24 F.3d 56, 63 (9th Cir. 1994).
      20
 25      Baumgardner v. Town of Ruston, 712 F. Supp. 2d 1180 (W.D. Wash. 2010) found
      a state statute mandating “reasonable fees” for review of land use applications too
 26   vague to support a property interest in the measure of those fees. Here, the stated
 27   property interest is to defined royalties under Section 114, which uses mandatory
      language (“shall”) and defined percentages (2.5%). Bd. of Regents v. Roth, 408 U.S.
 28   564, 577 (1972); Ching v. Mayorkas, 725 F.3d 1149, 1155-56 (9th Cir. 2013).
                                                 21     OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 and (3) defendant is indebted to plaintiff. Lincoln Nat’l Life Ins. Co. v. McClendon,
  2 230 F. Supp. 3d 1180, 1190 (C.D. Cal. 2017). “A plaintiff may prevail on this claim
  3 by demonstrating the existence of an express, implied, or quasi-contract entitling it to
  4 the sum, but that the defendant used the money for its own benefit.” Freyr Holdings,
  5 LLC v. Legacy Life Advisors, LLC, No. CV 10-9446 GAF (Ex), 2012 U.S. Dist.
  6 LEXIS 199813, at *29-30 (C.D. Cal. June 12, 2012). Here, Plaintiff has pled and
  7 produced evidence on all required elements of this claim: (1) Defendants received
  8 money from SoundExchange; (2) the money received was intended for Plaintiff and
  9 the Class under 17 U.S.C. § 114; and (3) Defendants are thus indebted to Plaintiff and
 10 the Class. (SUF ¶ 19; PUMF ¶¶ 62, 79). A rational factfinder could therefore conclude
 11 that the monies paid to the Unions were intended for Plaintiff and the Class and should
 12 be returned to them. See Pegues v. Raytheon Space & Airborne Sys., No. 2:17-cv-
 13 05420 DSF (GJSx), 2018 U.S. Dist. LEXIS 225463, at *7 (C.D. Cal. Dec. 3, 2018).
 14        Defendants’ challenge to Plaintiff’s claim for money had and received is
 15 limited to a single sentence claiming that “equity and good conscience” do not require
 16 return of the Service Fee, which is not a distinct element of the claim. MSJ at 19:28-
 17 20:2 (citing Mains v. City Title Ins. Co., 34 Cal. 2d 580, 586 (1949). Defendants fail
 18 to meaningfully develop this argument in any way, which constitutes waiver thereof.
 19 Concialdi v. Jacobs Eng'g Grp., No. CV 17-1068 FMO (GJSx), 2019 U.S. Dist.
 20 LEXIS 128041, at *36 n.9 (C.D. Cal. Apr. 29, 2019) (one-sentence argument deemed
 21 insufficiently developed for court to consider on summary judgment). To the extent
 22 Defendants are claiming “equity and good conscience” do not require the Service Fee
 23 to be refunded because it does not exceed the fair value of the Services Agreement,
 24 Plaintiff has presented myriad genuine issues of material fact precluding summary
 25 judgment on the issue. Barlow Respiratory Hosp. v. Cigna Health & Life Ins. Co.,
 26 No. 2:15-CV-08411-RGK-PLA, 2016 U.S. Dist. LEXIS 187305, at *13 (C.D. Cal.
 27 Sep. 30, 2016); Receivables Exch., LLC v. TR Music Grp., No. CV 14-9219 DSF
 28 (FFMx), 2016 U.S. Dist. LEXIS 183835, at *7 (C.D. Cal. Mar. 16, 2016).
                                          22      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1     D. Declaratory Relief
  2         Defendants make no argument for summary judgment as to Plaintiff’s claim
  3 for declaratory relief other than to gesture at his alleged lack of a viable underlying
  4 claim. MSJ at 20:2-5 (citing Shaterian v. Wells Fargo Bank, N.A., 829 F. Supp. 2d
  5 873, 888 (N.D. Cal. 2011)). Defendants’ failure to address this issue or otherwise
  6 develop their argument beyond a single sentence is once again a waiver of the matter.
  7 Concialdi, 2019 U.S. Dist. LEXIS 128041, at *36 n.9. However, as already explained
  8 at the motion to dismiss stage, Plaintiff’s underlying claims may be resolved without
  9 ascertaining the proper measure of the Service Fee (such as by finding it simply
 10 unreasonable in its current form). See Johnson v. HSBC Bank USA, No. 3:11-cv-2091-
 11 JM-WVG, 2012 U.S. Dist. LEXIS 36798, at *11 (S.D. Cal. Mar. 19, 2012) (“[I]t
 12 remains possible that some or all of Plaintiff's other claims will not survive to trial—
 13 if that occurs, declaratory judgment could serve to clarify the parties’ interests.”).
 14     E. Punitive Damages
 15         California law provides for the recovery of punitive damages “where it is
 16 proven by clear and convincing evidence that the defendant has been guilty of
 17 oppression, fraud, or malice.” American Airlines, Inc. v. Sheppard, Mullin, Richter &
 18 Hampton, 96 Cal. App. 4th 1017, 1022 (2002). Under this standard, “a defendant must
 19 act with the intent to vex, injure, or annoy, or with a conscious disregard of the
 20 plaintiff's rights,” which “may be proven directly or by implication.” Hobbs v.
 21 Bateman Eichler, Hill Richards, 164 Cal. App. 3d 174, 194 (1985) (internal quotes
 22 and citations omitted); see also Plyam v. Precision Dev., LLC (In re Plyam), 530 B.R.
 23 456, 465-69 (B.A.P. 9th Cir. 2015) (recklessness satisfies conscious disregard).
 24         “The decision to award punitive damages is usually left to the jury.” Braun v.
 25 Crown Crafts Infant Prods., No. C12-5811 RBL, 2014 U.S. Dist. LEXIS 11899, at
 26 *15-16 (W.D. Wash. Jan. 30, 2014) (citing Egan v. Mutual Omaha Ins. Co., 24 Cal.3d
 27 809, 821 (1979)). Thus, “[s]ummary judgment on the issue of punitive damages is
 28 proper only when no reasonable jury could find the plaintiff's evidence to be clear and
                                             23      OPPOSITION TO DEFENDANTS’ NOTICE OF
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  1 convincing proof of malice, fraud or oppression.” Madrigal v. Allstate Indem. Co.,
  2 No. CV 14-4242 SS, 2015 U.S. Dist. LEXIS 193784, at *58 (C.D. Cal. Sep. 30, 2015)
  3 (internal quotes and citation omitted). “In adjudicating the issue of punitive damages
  4 at the summary judgment stage, courts should not impose on a plaintiff the obligation
  5 to ‘prove’ its case.” Ferretti v. Pfizer Inc., No. 11-CV-04486, 2013 U.S. Dist. LEXIS
  6 4730, at *72-73 (N.D. Cal. Jan. 10, 2013). Indeed, courts frequently hold that the
  7 denial of summary judgment as to a given claim extends to any related punitive
  8 damages requests. See Mack v. Universal Truckload, LLC, No. 5:19-cv-02363-RGK-
  9 SP, 2020 U.S. Dist. LEXIS 248159, at *20 (C.D. Cal. Dec. 18, 2020); Carter v.
 10 Amtrak, No. CV 18-9652 PSG (JCx), 2020 U.S. Dist. LEXIS 87323, at *26 (C.D. Cal.
 11 Jan. 24, 2020); Interstate Restoration, LLC v. Seaman, No. SACV 13-00706
 12 DOC(RNBx), 2014 U.S. Dist. LEXIS 199667, at *57 (C.D. Cal. July 9, 2014).
 13        Here, the record is rife with clear and convincing evidence that the Trustees
 14 knowingly and purposefully violated their fiduciary duties to the Class, all in service
 15 of third parties to whom they pledged greater fealty as their principal employers. Mr.
 16 Hair knew that a percentage fee was unlawful; indeed, his lawyer told his predecessor
 17 precisely that. (PUMF ¶ 24). However, Mr. Hair pushed forward with the Service Fee
 18 anyway, having his lawyer tie it to the sale of Data without ever ascertaining the
 19 reasonable cost of same, violating the Copyright Act, the IOAA, and his fiduciary
 20 duties to the beneficiaries. (PUMF ¶¶ 28-29, 46-47). Defendants further made efforts
 21 to conceal or obscure both the implementation of the Service Fee as well as the
 22 amounts taken thereunder. (PUMF ¶ 63). Despite growing concern over the Service
 23 Fee’s impact, none of the Trustees have done anything to reevaluate or raise it with
 24 the Board. (PUMF ¶ 64). The Unions continue to happily convert the rightful property
 25 of the Class. Indeed, AFM has grown quite dependent on the Service Fee, as it makes
 26 up the majority of their net profits exclusive of membership fees. (PUMF ¶ 27). The
 27 Trustees’ use of the Unions’ own lawyer on both sides of the transaction is further
 28 evidence of the malicious breach of their fiduciary duties. (PUMF ¶¶ 22, 28-29).
                                              24      OPPOSITION TO DEFENDANTS’ NOTICE OF
                                                         MOTION AND MOTION FOR SUMMARY
                                                      JUDGMENT OR, IN THE ALTERNATIVE, FOR
                                                              PARTIAL SUMMARY JUDGMENT
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  1           Defendants’ entire argument on the matter is that “there is no evidence—let
  2 alone clear and convincing evidence---that the Fund or its Trustees engaged in
  3 ‘despicable’ conduct.” MSJ at 24:25-26. “As the above discussion should make clear,
  4 the parties hold widely different views of the facts in this case, which is why …
  5 summary judgment is inappropriate.” C2 Educ. Sys. v. Lee, No. 18-cv-02920-SI, 2019
  6 U.S. Dist. LEXIS 119272, at *16 (N.D. Cal. July 17, 2019); see also Huff v. L.A. Cty.
  7 Sheriffs Dep't, No. CV 16-01733-AB (AGRx), 2017 U.S. Dist. LEXIS 224577, at
  8 *27-28 (C.D. Cal. Dec. 8, 2017). Defendants’ decision to downplay this dispute as
  9 merely a “quibble[] with the amount of the Service Fee or the process whereby it was
 10 implemented” (MSJ at 25:2-3) is a self-serving attempt to paper over the process by
 11 which Defendants sought a windfall from the Fund and trampled over myriad
 12 conflicts of interest and a total lack of economic justification to obtain it. Whether this
 13 conduct and knowledge is sufficient to carry a punitive damages award is a question
 14 for trial. See Mihara v. Dean Witter & Co., 619 F.2d 814, 825 (9th Cir. 1980).
 15      V.      CONCLUSION
 16           For all the foregoing reasons, Defendants’ Motion should be denied in full.
 17
 18 DATED: May 14, 2021                    KIESEL LAW LLP
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 20
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 28
                                                 25       OPPOSITION TO DEFENDANTS’ NOTICE OF
                                                             MOTION AND MOTION FOR SUMMARY
                                                         JUDGMENT OR, IN THE ALTERNATIVE, FOR
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